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                               EXHIBIT 8
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                                         Exhibit 8
                                 Pennsylvania Computations

                                                 State Section 7: Section 7: Total Section 7
Week Ending                      Hourly Hours/
                     Name                      Minimum Regular Half-Time Overtime Back
   Date                           Rate Week
                                                Wage   Rate Due     Due       Wages Due
    9/1/2019 Angel Alamo         $10.00   55.90   $   7.25          $    79.50   $     79.50
    9/8/2019 Angel Alamo         $10.00   53.95   $   7.25          $    69.75   $     69.75
   9/15/2019 Angel Alamo         $10.00   65.02   $   7.25          $   125.08   $    125.08
   9/22/2019 Angel Alamo         $10.00   61.83   $   7.25          $   109.17   $    109.17
   9/29/2019 Angel Alamo         $10.00   52.25   $   7.25          $    61.25   $     61.25
   10/6/2019 Angel Alamo         $10.00   51.18   $   7.25          $    55.92   $     55.92
  10/13/2019 Angel Alamo         $10.00   62.98   $   7.25          $   114.92   $    114.92
  10/20/2019 Angel Alamo         $11.00   48.87   $   7.25          $    48.77   $     48.77
  10/27/2019 Angel Alamo         $11.00   54.78   $   7.25          $    81.31   $     81.31
  11/10/2019 Angel Alamo         $11.00   59.23   $   7.25          $   105.78   $    105.78
  11/17/2019 Angel Alamo         $11.00   48.87   $   7.25          $    48.77   $     48.77
   12/1/2019 Angel Alamo         $11.00   49.48   $   7.25          $    52.16   $     52.16
   12/8/2019 Angel Alamo         $11.00   50.83   $   7.25          $    59.58   $     59.58
  12/15/2019 Angel Alamo         $10.00   62.82   $   7.25          $   114.08   $    114.08
  12/22/2019 Angel Alamo         $10.00   66.50   $   7.25          $   132.50   $    132.50
  12/29/2019 Angel Alamo         $10.00   48.77   $   7.25          $    43.83   $     43.83
    1/5/2020 Angel Alamo         $10.00   40.85   $   7.25          $     4.25   $      4.25
   1/12/2020 Angel Alamo         $10.00   66.53   $   7.25          $   132.67   $    132.67
   1/19/2020 Angel Alamo         $10.00   53.07   $   7.25          $    65.33   $     65.33
   1/26/2020 Angel Alamo         $10.00   64.50   $   7.25          $   122.50   $    122.50
   4/28/2019 Arnaldo J. Rivera   $10.00   44.42   $   7.25          $    22.08   $     22.08
    5/5/2019 Arnaldo J. Rivera   $10.00   66.98   $   7.25          $   134.92   $    134.92
   5/12/2019 Arnaldo J. Rivera   $10.00   46.75   $   7.25          $    33.75   $     33.75
   3/17/2019 Danilo Santana      $12.50   58.28   $   7.25          $   114.27   $    114.27
   3/24/2019 Danilo Santana      $12.50   51.88   $   7.25          $    74.27   $     74.27
   3/31/2019 Danilo Santana      $12.50   56.17   $   7.25          $   101.04   $    101.04
    4/7/2019 Danilo Santana      $12.50   65.72   $   7.25          $   160.73   $    160.73
   4/14/2019 Danilo Santana      $12.50   65.30   $   7.25          $   158.13   $    158.13
   4/21/2019 Danilo Santana      $12.50   57.62   $   7.25          $   110.10   $    110.10
    5/5/2019 Danilo Santana      $12.50   65.43   $   7.25          $   158.96   $    158.96
   5/12/2019 Danilo Santana      $12.50   66.68   $   7.25          $   166.77   $    166.77
   5/26/2019 Danilo Santana      $12.50   67.22   $   7.25          $   170.10   $    170.10
    9/8/2019 David Cabrera       $10.00   61.18   $   7.25          $   105.92   $    105.92
   9/15/2019 David Cabrera       $10.00   52.92   $   7.25          $    64.58   $     64.58
   9/22/2019 David Cabrera       $10.00   61.35   $   7.25          $   106.75   $    106.75
   9/29/2019 David Cabrera       $10.00   40.30   $   7.25          $     1.50   $      1.50
   10/6/2019 David Cabrera       $10.00   55.65   $   7.25          $    78.25   $     78.25
  10/13/2019 David Cabrera       $10.00   57.27   $   7.25          $    86.33   $     86.33
  10/20/2019 David Cabrera       $11.00   50.38   $   7.25          $    57.11   $     57.11
  10/27/2019 David Cabrera       $11.00   44.02   $   7.25          $    22.09   $     22.09
   11/3/2019 David Cabrera       $11.00   58.50   $   7.25          $   101.75   $    101.75
  11/17/2019 David Cabrera       $11.00   54.77   $   7.25          $    81.22   $     81.22
  11/24/2019 David Cabrera       $11.00   51.08   $   7.25          $    60.96   $     60.96
   12/1/2019 David Cabrera       $11.00   47.28   $   7.25          $    40.06   $     40.06
   12/8/2019 David Cabrera       $11.00   54.67   $   7.25          $    80.67   $     80.67
  12/15/2019 David Cabrera       $10.00   62.75   $   7.25          $   113.75   $    113.75


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                                      Exhibit 8
                              Pennsylvania Computations

                                              State Section 7: Section 7: Total Section 7
Week Ending                   Hourly Hours/
                    Name                    Minimum Regular Half-Time Overtime Back
   Date                        Rate Week
                                             Wage   Rate Due     Due       Wages Due
  12/22/2019 David Cabrera    $10.00   42.87   $   7.25          $    14.33   $     14.33
   1/19/2020 David Cabrera    $10.00   45.03   $   7.25          $    25.17   $     25.17
   1/26/2020 David Cabrera    $10.00   40.13   $   7.25          $     0.67   $      0.67
   4/28/2019 Isachar Mendez    $9.50   68.60   $   7.25          $   135.85   $    135.85
    7/7/2019 Joshua Gilbert   $10.00   41.52   $   7.25          $     7.58   $      7.58
   7/28/2019 Joshua Gilbert   $10.00   44.97   $   7.25          $    24.83   $     24.83
   8/11/2019 Joshua Gilbert   $10.00   61.02   $   7.25          $   105.08   $    105.08
   8/18/2019 Joshua Gilbert   $10.00   43.05   $   7.25          $    15.25   $     15.25
    7/7/2019 Julian Gilbert   $10.00   41.52   $   7.25          $     7.58   $      7.58
   7/21/2019 Julian Gilbert   $10.00   48.08   $   7.25          $    40.42   $     40.42
   7/28/2019 Julian Gilbert   $10.00   40.15   $   7.25          $     0.75   $      0.75
   8/11/2019 Julian Gilbert   $10.00   51.22   $   7.25          $    56.08   $     56.08
   8/18/2019 Julian Gilbert   $10.00   43.03   $   7.25          $    15.17   $     15.17
   2/24/2019 Julio Torres     $10.00   40.15   $   7.25          $     0.75   $      0.75
    3/3/2019 Julio Torres     $10.00   57.07   $   7.25          $    85.33   $     85.33
   3/10/2019 Julio Torres     $10.00   47.15   $   7.25          $    35.75   $     35.75
   3/17/2019 Julio Torres     $10.00   69.97   $   7.25          $   149.83   $    149.83
   3/24/2019 Julio Torres     $10.00   62.57   $   7.25          $   112.83   $    112.83
    4/7/2019 Julio Torres     $10.00   65.25   $   7.25          $   126.25   $    126.25
   4/14/2019 Julio Torres     $10.00   57.22   $   7.25          $    86.08   $     86.08
   4/21/2019 Julio Torres     $10.00   46.05   $   7.25          $    30.25   $     30.25
   4/28/2019 Julio Torres     $10.00   61.70   $   7.25          $   108.50   $    108.50
    5/5/2019 Julio Torres     $10.00   56.37   $   7.25          $    81.83   $     81.83
    3/3/2019 Luis Espada      $12.00   57.28   $   7.25          $   103.70   $    103.70
   3/10/2019 Luis Espada      $12.00   63.32   $   7.25          $   139.90   $    139.90
   3/17/2019 Luis Espada      $12.00   57.25   $   7.25          $   103.50   $    103.50
   3/24/2019 Luis Espada      $12.00   44.07   $   7.25          $    24.40   $     24.40
    5/5/2019 Luis Espada      $12.00   48.73   $   7.25          $    52.40   $     52.40
   5/19/2019 Luis Espada      $12.00   47.88   $   7.25          $    47.30   $     47.30
   8/25/2019 Luis Espada      $12.00   49.35   $   7.25          $    56.10   $     56.10
   9/15/2019 Luis Espada      $12.00   65.70   $   7.25          $   154.20   $    154.20
   9/22/2019 Luis Espada      $12.00   57.87   $   7.25          $   107.20   $    107.20
   9/29/2019 Luis Espada      $12.00   51.43   $   7.25          $    68.60   $     68.60
   10/6/2019 Luis Espada      $12.00   58.57   $   7.25          $   111.40   $    111.40
  10/13/2019 Luis Espada      $12.00   42.20   $   7.25          $    13.20   $     13.20
   7/14/2019 Luis Morales     $10.00   52.27   $   7.25          $    61.33   $     61.33
   7/21/2019 Luis Morales     $10.00   46.92   $   7.25          $    34.58   $     34.58
   7/28/2019 Luis Morales     $10.00   61.67   $   7.25          $   108.33   $    108.33
    8/4/2019 Luis Morales     $10.00   66.53   $   7.25          $   132.67   $    132.67
   8/18/2019 Luis Morales     $10.00   64.75   $   7.25          $   123.75   $    123.75
   8/25/2019 Luis Morales     $10.00   66.65   $   7.25          $   133.25   $    133.25
    9/1/2019 Luis Morales     $10.00   44.02   $   7.25          $    20.08   $     20.08
    9/8/2019 Luis Morales     $10.00   61.10   $   7.25          $   105.50   $    105.50
   9/15/2019 Luis Morales     $10.00   43.58   $   7.25          $    17.92   $     17.92
   9/22/2019 Luis Morales     $10.00   63.63   $   7.25          $   118.17   $    118.17
   9/29/2019 Luis Morales     $10.00   54.57   $   7.25          $    72.83   $     72.83


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                                            Exhibit 8
                                    Pennsylvania Computations

                                                    State Section 7: Section 7: Total Section 7
Week Ending                         Hourly Hours/
                    Name                          Minimum Regular Half-Time Overtime Back
   Date                              Rate Week
                                                   Wage   Rate Due     Due       Wages Due
  10/13/2019 Luis Morales           $10.00   51.32   $   7.25          $    56.58   $     56.58
  10/20/2019 Luis Morales           $11.00   59.28   $   7.25          $   106.06   $    106.06
   11/3/2019 Luis Morales           $11.00   58.52   $   7.25          $   101.84   $    101.84
  11/10/2019 Luis Morales           $11.00   45.55   $   7.25          $    30.53   $     30.53
  11/17/2019 Luis Morales           $11.00   59.63   $   7.25          $   107.98   $    107.98
  11/24/2019 Luis Morales           $11.00   48.72   $   7.25          $    47.94   $     47.94
   12/1/2019 Luis Morales           $11.00   50.20   $   7.25          $    56.10   $     56.10
   12/8/2019 Luis Morales           $11.00   49.80   $   7.25          $    53.90   $     53.90
  12/15/2019 Luis Morales           $10.00   52.30   $   7.25          $    61.50   $     61.50
  12/22/2019 Luis Morales           $10.00   43.78   $   7.25          $    18.92   $     18.92
   1/19/2020 Luis Morales           $10.00   67.68   $   7.25          $   138.42   $    138.42
   1/26/2020 Luis Morales           $10.00   50.33   $   7.25          $    51.67   $     51.67
   9/22/2019 Migdoel Morales Cruz   $10.00   63.73   $   7.25          $   118.67   $    118.67
   9/29/2019 Migdoel Morales Cruz   $10.00   41.02   $   7.25          $     5.08   $      5.08
  10/27/2019 Migdoel Morales Cruz   $11.00   48.92   $   7.25          $    49.04   $     49.04
  11/10/2019 Migdoel Morales Cruz   $11.00   49.45   $   7.25          $    51.98   $     51.98
  11/17/2019 Migdoel Morales Cruz   $11.00   49.13   $   7.25          $    50.23   $     50.23
   12/8/2019 Migdoel Morales Cruz   $11.00   60.65   $   7.25          $   113.58   $    113.58
  12/15/2019 Migdoel Morales Cruz   $10.00   45.48   $   7.25          $    27.42   $     27.42
  12/22/2019 Migdoel Morales Cruz   $10.00   54.47   $   7.25          $    72.33   $     72.33
   1/12/2020 Migdoel Morales Cruz   $10.00   46.27   $   7.25          $    31.33   $     31.33
   1/19/2020 Migdoel Morales Cruz   $10.00   55.33   $   7.25          $    76.67   $     76.67
   1/26/2020 Migdoel Morales Cruz   $10.00   56.30   $   7.25          $    81.50   $     81.50
   4/28/2019 Mike Ruiz              $10.50   54.23   $   7.25          $    74.73   $     74.73
    5/5/2019 Mike Ruiz              $10.50   64.25   $   7.25          $   127.31   $    127.31
   5/19/2019 Mike Ruiz              $10.50   44.85   $   7.25          $    25.46   $     25.46
    7/7/2019 Mike Ruiz              $12.00   42.63   $   7.25          $    15.80   $     15.80
   7/14/2019 Mike Ruiz              $12.00   46.62   $   7.25          $    39.70   $     39.70
   7/21/2019 Mike Ruiz              $12.00   63.95   $   7.25          $   143.70   $    143.70
   7/28/2019 Mike Ruiz              $12.00   64.20   $   7.25          $   145.20   $    145.20
    8/4/2019 Mike Ruiz              $12.00   55.95   $   7.25          $    95.70   $     95.70
   8/11/2019 Mike Ruiz              $12.00   54.43   $   7.25          $    86.60   $     86.60
   8/18/2019 Mike Ruiz              $12.00   51.95   $   7.25          $    71.70   $     71.70
   8/25/2019 Mike Ruiz              $12.00   65.60   $   7.25          $   153.60   $    153.60
    9/1/2019 Mike Ruiz              $12.00   56.10   $   7.25          $    96.60   $     96.60
    9/8/2019 Mike Ruiz              $12.00   61.10   $   7.25          $   126.60   $    126.60
   9/15/2019 Mike Ruiz              $12.00   65.08   $   7.25          $   150.50   $    150.50
   9/22/2019 Mike Ruiz              $12.00   42.82   $   7.25          $    16.90   $     16.90
   9/29/2019 Mike Ruiz              $12.00   57.10   $   7.25          $   102.60   $    102.60
   10/6/2019 Mike Ruiz              $12.00   56.18   $   7.25          $    97.10   $     97.10
  10/13/2019 Mike Ruiz              $12.00   51.83   $   7.25          $    71.00   $     71.00
  10/20/2019 Mike Ruiz              $12.00   59.43   $   7.25          $   116.60   $    116.60
  10/27/2019 Mike Ruiz              $12.00   59.72   $   7.25          $   118.30   $    118.30
   11/3/2019 Mike Ruiz              $12.00   52.87   $   7.25          $    77.20   $     77.20
  11/10/2019 Mike Ruiz              $12.00   59.25   $   7.25          $   115.50   $    115.50
  11/17/2019 Mike Ruiz              $12.00   59.72   $   7.25          $   118.30   $    118.30


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                                      Exhibit 8
                              Pennsylvania Computations

                                              State Section 7: Section 7: Total Section 7
Week Ending                   Hourly Hours/
                   Name                     Minimum Regular Half-Time Overtime Back
   Date                        Rate Week
                                             Wage   Rate Due     Due       Wages Due
  11/24/2019 Mike Ruiz        $12.00   53.38   $   7.25          $    80.30   $     80.30
   12/1/2019 Mike Ruiz        $12.00   49.50   $   7.25          $    57.00   $     57.00
   12/8/2019 Mike Ruiz        $12.00   61.35   $   7.25          $   128.10   $    128.10
  12/15/2019 Mike Ruiz        $12.00   63.02   $   7.25          $   138.10   $    138.10
  12/22/2019 Mike Ruiz        $12.00   68.70   $   7.25          $   172.20   $    172.20
  12/29/2019 Mike Ruiz        $12.00   48.62   $   7.25          $    51.70   $     51.70
    1/5/2020 Mike Ruiz        $12.00   43.10   $   7.25          $    18.60   $     18.60
   1/12/2020 Mike Ruiz        $12.00   68.80   $   7.25          $   172.80   $    172.80
   1/19/2020 Mike Ruiz        $12.00   63.43   $   7.25          $   140.60   $    140.60
   1/26/2020 Mike Ruiz        $12.00   66.40   $   7.25          $   158.40   $    158.40
    3/3/2019 Nestro Camacho   $10.00   57.05   $   7.25          $    85.25   $     85.25
   3/10/2019 Nestro Camacho   $10.00   55.05   $   7.25          $    75.25   $     75.25
   3/17/2019 Nestro Camacho   $10.00   58.72   $   7.25          $    93.58   $     93.58
   3/24/2019 Nestro Camacho   $10.00   52.53   $   7.25          $    62.67   $     62.67
   3/31/2019 Nestro Camacho   $10.00   63.67   $   7.25          $   118.33   $    118.33
    4/7/2019 Nestro Camacho   $10.00   65.32   $   7.25          $   126.58   $    126.58
   4/14/2019 Nestro Camacho   $10.00   66.13   $   7.25          $   130.67   $    130.67
   4/21/2019 Nestro Camacho   $10.00   68.67   $   7.25          $   143.33   $    143.33
   4/28/2019 Nestro Camacho   $10.00   56.58   $   7.25          $    82.92   $     82.92
    5/5/2019 Nestro Camacho   $10.00   65.95   $   7.25          $   129.75   $    129.75
   5/12/2019 Nestro Camacho   $10.00   56.77   $   7.25          $    83.83   $     83.83
   5/19/2019 Nestro Camacho   $10.00   72.10   $   7.25          $   160.50   $    160.50
   5/26/2019 Nestro Camacho   $10.00   72.25   $   7.25          $   161.25   $    161.25
    6/2/2019 Nestro Camacho   $10.00   65.18   $   7.25          $   125.92   $    125.92
    6/9/2019 Nestro Camacho   $10.00   73.80   $   7.25          $   169.00   $    169.00
   6/16/2019 Nestro Camacho   $10.00   70.78   $   7.25          $   153.92   $    153.92
   6/23/2019 Nestro Camacho   $10.00   70.72   $   7.25          $   153.58   $    153.58
   6/30/2019 Nestro Camacho   $10.00   58.65   $   7.25          $    93.25   $     93.25
    7/7/2019 Nestro Camacho   $10.00   58.92   $   7.25          $    94.58   $     94.58
   7/14/2019 Nestro Camacho   $10.00   68.87   $   7.25          $   144.33   $    144.33
   7/21/2019 Nestro Camacho   $10.00   70.68   $   7.25          $   153.42   $    153.42
   7/28/2019 Nestro Camacho   $10.00   70.13   $   7.25          $   150.67   $    150.67
    8/4/2019 Nestro Camacho   $10.00   59.53   $   7.25          $    97.67   $     97.67
   8/11/2019 Nestro Camacho   $10.00   71.32   $   7.25          $   156.58   $    156.58




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